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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF OREGON
                                 PORTLAND DIVISION


NORTHWEST ENVIRONMENTAL                                    Civil No.: 3:12-cv-01751-AC
ADVOCATES, a non-profit corporation,

                     Plaintiff,

       v.
                                               [PROPOSED] ORDER ON MOTION
UNITED STATES ENVIRONMENTAL                    FOR EXTENSION OF TIME TO FILE
PROTECTION AGENCY, a United States             OBJECTIONS TO MAGISTRATE
Government Agency,                             JUDGE’S FINDINGS AND
                                               RECOMMENDATIONS AND
                     Defendant,                RESPONSES TO OBJECTIONS

       and

STATE OF OREGON; OREGON WATER
QUALITY STANDARDS GROUP; THE
FRESHWATER TRUST

                     Intervenors-Defendants.
       The Court grants the requested extensions of the due dates for filing objections to

Magistrate Judge Acosta’s October 12, 2016 Findings and Recommendations in this matter.

Objections are due November 18, 2016, and any responses to objections are due December 9, 2016.



       IT IS SO ORDERED:

       DATED: _________________                       ____________________________
